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    RICH MICHAELSON MAGALIFF, LLP                                                            Hearing Date and time:
    335 Madison Avenue, 9th Floor                                                      February 7, 2022 at 10:00 a.m.
    New York, NY 10017
    646.453.7851                                                                                Objection Deadline:
    Howard P. Magaliff                                                                 February 2, 2022 at 5:00 p.m.

    Attorneys for Howard P. Magaliff, Chapter 7 Trustee

    UNITED STATES BANKRUPTCY COURT
    SOUTHERN DISTRICT OF NEW YORK
    ------------------------------------------------------------- x
    In re:                                                        :
                                                                  :      Chapter 7
    MEL SERVICE, INC.,                                            :      Case No. 21-22685 (RDD)
                                                                  :
                                        Debtor. 1                 :
    ------------------------------------------------------------- x


               NOTICE OF HEARING ON TRUSTEE’S MOTION TO SELL
           THE DEBTOR’S PROPERTY LOCATED AT 540 CONCORD AVENUE,
           BRONX, NEW YORK FREE AND CLEAR OF LIENS AND INTERESTS
          PURSUANT TO SECTIONS 363(b) AND (f) OF THE BANKRUPTCY CODE

                PLEASE TAKE NOTICE that a hearing to consider the Trustee’s motion to ap-
prove the sale of real property owned by the debtor will be held on February 7, 2022 at 10:00
a.m. before the Honorable Robert D. Drain, United States Bankruptcy Judge. The hearing will
be conducted virtually using Zoom for Government. Parties wishing to appear must register in
advance using the Electronic Appearance portal located on the Court’s website at
http://ecf.nysb.uscourts.gov/cgi-bin/nysbAppearances.pl.

                PLEASE TAKE FURTHER NOTICE that responses or objections to the mo-
tion and proposed sale, if any, must be in writing, conform to the Federal Rules of Bankruptcy
Procedure and be filed with the Bankruptcy Court electronically by registered users of the Bank-
ruptcy Court’s case filing system (the User’s Manual for the Electronic Case Filing System can
be found at www.nysb.uscourts.gov, the official website for the Bankruptcy Court) and, by all
other parties in interest, on a 3.5 inch disk, in text-searchable Portable Document Format (PDF),
WordPerfect or any other Windows-based word processing format (in either case, with a hard
copy delivered to Chambers), and be served upon (i) Howard P. Magaliff, Esq., Rich Michaelson
Magaliff, LLP, 335 Madison Avenue, 9th Floor, New York, NY 10017, and by email to
hmagaliff@r3mlaw.com, (2) Yevgeny Tsyngauz, Esq., Tsyngauz & Associates P.C., 114 Mul-
berry Street, 1st Floor, New York, NY 10013, and by email to yt@nytlaw.com, and (iii) Paul
Schwartzberg, Esq., Office of the United States Trustee, U.S. Federal Office Building, 201 Var-
ick Street, Suite 1006, New York, NY 10014, and by email to paul.schwartzberg@usdoj.gov so
as to be actually received no later than February 2, 2022 at 5:00 PM.



1
       The last four digits of the Debtor’s employer identification number are 3789.
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               PLEASE TAKE FURTHER NOTICE that only objections made in writing and
timely filed and received will be considered by the Bankruptcy Court at the hearing.


Dated: New York, New York              RICH MICHAELSON MAGALIFF, LLP
       January 10, 2022                Attorneys for the Trustee
                                       By:

                                       /s/ Howard P. Magaliff
                                       HOWARD P. MAGALIFF
                                       335 Madison Avenue, 9th Floor
                                       New York, NY 10017
                                       646.453.7851
                                       hmagaliff@r3mlaw.com




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    RICH MICHAELSON MAGALIFF, LLP                                                            Hearing Date and time:
    335 Madison Avenue, 9th Floor                                                      February 7, 2022 at 10:00 a.m.
    New York, NY 10017
    646.453.7851                                                                                Objection Deadline:
    Howard P. Magaliff                                                                 February 2, 2022 at 5:00 p.m.

    Attorneys for Howard P. Magaliff, Chapter 7 Trustee

    UNITED STATES BANKRUPTCY COURT
    SOUTHERN DISTRICT OF NEW YORK
    ------------------------------------------------------------- x
    In re:                                                        :
                                                                  :      Chapter 7
    MEL SERVICE, INC.,                                            :      Case No. 21-22685 (RDD)
                                                                  :
                                        Debtor. 1                 :
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                  TRUSTEE’S MOTION TO SELL THE DEBTOR’S PROPERTY
                  LOCATED AT 540 CONCORD AVENUE, BRONX, NEW YORK
                   FREE AND CLEAR OF LIENS AND INTERESTS PURSUANT
                  TO SECTIONS 363(b) AND (f) OF THE BANKRUPTCY CODE

TO THE HONORABLE ROBERT D. DRAIN,
UNITED STATES BANKRUPTCY JUDGE:

                    Howard P. Magaliff, the chapter 7 trustee (the “Trustee”) of the estate of Mel Ser-

vice, Inc. (the “Debtor”), by his attorneys Rich Michaelson Magaliff, LLP, respectfully submits

this motion for an order pursuant to sections 363(b) and (f) of the Bankruptcy Code, title 11,

United States Code (the “Bankruptcy Code”), Rule 6004 of the Federal Rules of Bankruptcy

Procedure and Local Bankruptcy Rule 6004-1 authorizing him to sell the Debtor’s real property

located at 540 Concord Avenue, Bronx, New York (the “Property”) free and clear of liens and

interests, with liens and interests to attach to the proceeds, and states:

                                                 INTRODUCTION

                    1.       On May 18, 2021, Alejandro Quito and Rosa Quito (the “Quito Debtors”)

filed a voluntary pro se petition under chapter 7 of the Bankruptcy Code. Subsequently, the


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       The last four digits of the Debtor’s employer identification number are 3789.
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Quito Debtors retained Richard S. Feinsilver, Esq. as counsel. Howard P. Magaliff is the trustee

of the Quito Debtors pursuant to section 702(d) of the Bankruptcy Code (the “Quito Trustee”).

                2.      By Order dated September 7, 2021 (the “Operating Order”), the Quito

Trustee was granted the authority pursuant to section 721 of the Bankruptcy Code to operate and

manage the Quito Debtors’ businesses and properties in which they have an interest, including

without limitation the Property through the Debtors’ 100% ownership of Mel Service, Inc. The

Property is a mixed-use building with 32 residential and six commercial units.

                3.      The shares of stock in the Debtor (the “Shares”) are property of the Quito

Debtors’ estate. The Quito Trustee retained Rosewood Realty Group (“Rosewood”) as auc-

tioneer to sell the Shares, and the Court approved bidding procedures. Rosewood received many

expressions of interest to acquire the Property outright rather than the stock.

                4.      Accordingly, on December 14, 2021 (the “Petition Date”), the Quito Debt-

ors’ Trustee, acting through ownership of the shares of stock in the Debtor, filed a voluntary pe-

tition for the Debtor under chapter 7 of the Bankruptcy Code. The purpose for the filing was to

enable the Property to be sold. The Quito Trustee was appointed as the interim chapter 7 trustee

of the Debtor (the “Trustee”), and retained Rosewood in this case as the broker on the same

terms and conditions that it was retained in the Quito Debtors’ case.

                5.      The Trustee intended to put the Property up for sale at an auction. How-

ever, the Trustee and Rosewood received an offer (the “Offer”) to purchase the Property in a pri-

vate sale for $6,800,000 from 540 Cab LLC (the “Purchaser”), whose principal is Marat Lesh-

chinsky. A copy of the Memorandum of Sale with Terms and Conditions of Sale (the “Terms of

Sale”) executed by the Purchaser is attached as Exhibit 1. The Purchaser has delivered the de-

posit of $350,000 required by the Terms of Sale.




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                 6.        Rosewood has advised the Trustee that the Offer is above the price of

comparable sales in the area, and more than would likely be received at an auction. 2 Rosewood

advised the Trustee to accept the Offer. Accordingly, by this Motion, the Trustee seeks entry of

an order authorizing the sale of the Property to the Purchaser pursuant to sections 363(b) and (f)

of the Bankruptcy Code.

                          MARKETING AND SALE OF THE PROPERTY

                 7.        Since being hired prior to the filing of the Quito Debtors’ case by 540

Lender and in anticipation of going to market, Rosewood put together a 38-page offering memo-

randum; set up a due diligence room including appraisal, DHCRs, environmental report, rent roll

in excel, insurance, leases, loan documents, and permits and inspections; created an HTML

email blast; designed social media campaigns; assembled comparable sales data to show inves-

tors; had a drone pilot take photos of the Property for marketing materials; prepared a banner ad

for Rosewood’s daily run in Pincus Media; prepared an ad for the Epoch Times, Chinese section;

made phone calls to some of Rosewood’s top clients to gauge interest and get pricing feedback;

and designed a hot property of the month ad for New York Real Estate Journal. The Quito Debt-

ors’ bankruptcy case was filed before Rosewood officially went to market. After the Quito Trus-

tee retained Rosewood, the firm implemented its marketing program and actively marketed the

Shares. Many prospective buyers expressed interest in the Property rather than the Shares, and

since this case was filed, have indicated a willingness to bid at an auction, but with prices start-

ing much lower than the Purchaser’s Offer. In short, the Trustee believes that the marketing ef-

forts were more than ample under the circumstances for the Property to be sold in a private sale.




2
    The Debtor’s senior secured lender 540 Concord Lender, LLC (“540 Lender”) has agreed to a carve-out to
    cover administrative fees and expenses related to the sale in the unlikely event the proceeds are insufficient.
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                8.      The Terms of Sale are set forth in Exhibit 1. Briefly, the Purchaser will

pay $6,800,000 in cash at closing. There are no financing contingencies. The Purchaser has

given a $350,000 non-refundable deposit to the Trustee, which will be forfeited if the Purchaser

defaults under the Terms of Sale. The Trustee will pay any required transfer tax and, as dis-

cussed below, the commission to Rosewood, and will satisfy fines, penalties and violations of

record at closing.

                                  APPLICABLE AUTHORITY

A.       The Proposed Sale is Within the Trustee’s Sound Business Judgment

                9.      Section 363(b)(1) of the Bankruptcy Code provides, in relevant part, that

“[t]he trustee, after notice and a hearing, may use, sell, or lease, other than in the ordinary course

of business, property of the estate …” 11 U.S.C. § 363(b)(1). In addition, section 105(a) pro-

vides that the Court “may issue any order, process, or judgment that is necessary or appropriate

to carry out the provisions of [the Bankruptcy Code].” 11 U.S.C. § 105(a).

                10.     In determining whether to approve a proposed sale under section 363(b),

courts require that the sale be based upon the sound business judgment of the debtor. In re G.S.

Distrib., Inc., 331 BR 552, 559 (Bankr. S.D.N.Y. 2005). See also Licensing by Paolo v. Sinatra

(In re Gucci), 126 F.3d 380, 387 (2d Cir.1997) (“A sale of a substantial part of a Chapter 11 es-

tate may be conducted if a good business reason exists to support it.”); Committee of Equity Sec.

Holders v. Lionel Corp. (In re Lionel Corp.), 722 F.2d 1063, 1071 (2d Cir.1983); In re Chateau-

gay Corp., 973 F.2d 141, 143 (2d Cir.1992) (holding that a judge determining a § 363(b) applica-

tion must find from the evidence presented before him a good business reason to grant such ap-

plication); In re Enron Corp., 284 B.R. 376, 392 n. 15 (Bankr.S.D.N.Y.2002). “Although Sec-

tion 363 of the Bankruptcy Code does not set forth a standard for determining when it is appro-

priate for a court to authorize the sale or disposition of a debtor’s assets, courts in … this Circuit


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have required that it be based upon the sound business judgment of the debtor.” In re RSL COM

PrimeCall Inc., No. 01-11457 (ALG), 2002 Bankr. LEXIS 367 at *26-27 (Bankr. S.D.N.Y. Apr.

11, 2002). Once the Trustee articulates a sound business justification, there “‘is a presumption

that in making a business decision the [decision maker] acted on an informed basis, in good faith

and in the honest belief that the action was in the best interests of the company.’” Official Comm.

of Subordinated Bondholders v. Integrated Resources, Inc. (In re Integrated Resources, Inc.), 147

B.R. 650, 656 (Bankr. S.D.N.Y. 1992), appeal dismissed, 3 F.3d 49 (2d Cir. 1993) (citation omit-

ted).

                11.    The Trustee believes that the sale of the Property constitutes the prudent

and proper exercise of his business judgment, and should be approved pursuant to section 363(b)

of the Bankruptcy Code. The Property was listed and marketed by an established and reputable

broker over many months. Many parties were interested. While the Trustee has been operating

the Property in his capacity as the Quito Trustee, the Property is in need of professional and com-

petent management on a long term basis by an owner who can address tenant needs and com-

plaints, provide renewal leases for tenants including those tenants who require them for govern-

ment assistance, and provide for the maintenance and upkeep of the Property. The Trustee sub-

mits that proceeding with approval of the sale to the Purchaser, after the marketing efforts under-

taken, maximizes the value that the estate will receive for the Property.

                12.    Based on all of the foregoing, sound business reasons exist to justify the

sale of the Property. Therefore, the Trustee submits that the proposed sale to the Purchaser

should be approved.

B.       Sale Pursuant to Section 363(f) is Appropriate

                13.    The Property is being sold and delivered “as is” and “where is” without

any representations, covenants, guarantees or warranties of any kind or nature whatsoever, and,

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pursuant to section 363(f) of the Bankruptcy Code, free and clear of all liens, claims and interests

of entities other than the estate of whatever kind or nature, with such liens, claims, interests and

encumbrances, if any, to attach to the proceeds of the sale such order and priority as they existed

immediately prior to the date of the sale, and subject to, among other things: (a) any state of facts

that an accurate survey would show; (b) any covenants, restrictions and easements of record;

(c) any state of facts a physical inspection may show; (d) any building or zoning ordinances or

other applicable municipal regulations and violations thereof; (e) environmental conditions;

(f) all deed restrictions; and (g) subject to all existing leases and tenancies.

                   14.   Section 363(f) of the Bankruptcy Code provides:

                         The trustee may sell property under subsection (b) or (c) of this section
                         free and clear of any interest in such property of an entity other than the
                         estate, only if –

                         (1)    applicable nonbankruptcy law permits sale of such property free
                                and clear of such interest;

                         (2)    such entity consents;

                         (3)    such interest is a lien and the price at which such property is to be
                                sold is greater than the aggregate value of all liens on such prop-
                                erty;

                         (4)    such interest is in bona fide dispute; or

                         (5)    such entity could be compelled, in a legal or equitable proceeding,
                                to accept a money satisfaction of such interest.

11 U.S.C. § 363(f).

                   15.   The Trustee submits that section 363(f) is satisfied in this case because,

inter alia, the purchase price exceeds the known liens against the Property specifically including

the outstanding first lien mortgage debt of 540 Lender in the approximate amount of $3,877,699

as of the Petition Date, and those creditors could be compelled to accept a money satisfaction of

their interests.


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C.        Basis for Private Sale

                 16.    While many section 363 sales are conducted under competitive bidding pro-

cedures, there is no requirement in the Bankruptcy Code to do so. In fact, Bankruptcy Rule 6004(f)

specifically contemplates private sales with the statement that “[a]ll sales not in the ordinary course

of business may be by private sale or by public auction.”

                 17.    Courts have noted that private sales are appropriate under section 363. See In

re Bakalis, 220 B.R. 525, 531 (Bankr. E.D.N.Y. 1998) (“Unlike judicial sales under the Bankruptcy

Act, the sale of estate property under the Bankruptcy Code is conducted by a trustee, who has ample

discretion to conduct public or private sales of estate property.”); Penn Mut. Life Ins. Co. v. Wood-

scape Ltd. P’ship (In re Woodscape Ltd. P’ship), 134 B.R. 165, 174 (Bankr. D. Md. 1991) (noting

that, with respect sales of estate property pursuant to section 363 of the Bankruptcy Code, “[t]here is

no prohibition against a private sale … and there is no requirement that the sale be by public auc-

tion”).

                 18.    Here, proceeding with an auction versus a private sale would incur additional

costs to the Debtor’s estate, without any assurances that there would be any benefit or increased pur-

chase price. To the contrary, Rosewood has urged the Trustee to accept the Offer because of its be-

lief that the purchase price exceeds that which could be obtained at auction.

D.        Closing Expenses

                 19.    Finally, the Trustee seeks authority to pay closing expenses, if required or

appropriate, from the proceeds at or subsequent to closing, including the mortgage of 540

Lender.




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                 20.     The Order authorizing Rosewood’s retention 3 provides that “Rosewood

shall be compensated for services rendered and reimbursed its reasonable and necessary ex-

penses, in each case as provided in the Retention Agreement, pursuant to a proper application

therefor under 11 U.S.C. §§ 328(a) and 330 and the applicable Bankruptcy Rules, Local Bank-

ruptcy Rules, and fee and expense guidelines and orders of the Court; provided that (a) Rose-

wood is exempt from keeping time records for its work; (b) all amounts due to Rosewood will be

paid at closing upon approval of a fee application, which may be included in any motion made

by the Trustee to approve the sale of the Concord Avenue Property.” Rosewood’s retention

agreement provides that the commission will be paid by the purchaser as a buyer’s premium.

However, that provision contemplated an auction. Here, the Trustee agreed with the Purchaser

to pay the commission directly; otherwise the purchase price would have been lower. The net

economic impact to the estate is zero. The Trustee seeks authority to pay Rosewood its 3% com-

mission – $204,000 – at closing, plus reimbursement of expenses as provided in the Rosewood

agreement.

                            RELIEF FROM 14-DAY AUTOMATIC
                          STAY UNDER BANKRUPTCY RULE 6004(h)

                 21.     Bankruptcy Rule 6004(h) provides that an “order authorizing the use, sale,

or lease of property … is stayed until the expiration of 14 days after entry of the order, unless the

Court orders otherwise.” The Terms and Conditions of Sale require the Purchaser to close within

seven business days after receiving notice from the Trustee of the entry of the approval order.

Relief from the 14-day stay therefore would enable the Trustee to close on the sale as promptly as




3
    The order has not yet been entered as of the filing of this Motion. However, there were no objections to the
    proposed order on presentment, and these are the same terms that the Court approved for Rosewood’s retention
    in the Quito Debtors’ case.

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possible, relieving the estate of any further burdens or costs imposed for management of the Prop-

erty, including the accrual of taxes and repairs. The Trustee requests that the order approving the

sale be effective immediately by providing that the 14-day stay is waived.

                22.    The Trustee has given notice of the this Motion to all creditors, Alejandro

Quito and his counsel, all persons who filed a notice of appearance, and the United States Trus-

tee, and submits that such notice is sufficient and appropriate.

                23.    No prior request for the relief sought has been made.

                WHEREFORE, for the foregoing reasons, the Trustee requests that the Court

(i) approve the Terms of Sale, (ii) authorize the sale of the Property pursuant to sections 363(b)

and (f) of the Bankruptcy Code, and (iii) authorize the payment of costs and expenses at closing

as described herein, specifically including the commission and expense reimbursement to Rose-

wood, and enter the order in the form attached as Exhibit 2, together with such other and further

relief as the Court considers appropriate under the circumstances.


Dated:     New York, New York                   RICH MICHAELSON MAGALIFF, LLP
           January 10, 2022                     Attorneys for the Trustee
                                                By:

                                                /s/ Howard P. Magaliff
                                                335 Madison Avenue, 9th Floor
                                                New York, NY 10017
                                                646.453.7851
                                                hmagaliff@r3mlaw.com




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                                    EXHIBIT 1




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                                                  EXHIBIT 2


    UNITED STATES BANKRUPTCY COURT
    SOUTHERN DISTRICT OF NEW YORK
    ------------------------------------------------------------- x
    In re:                                                        :
                                                                  :      Chapter 7
    MEL SERVICE, INC.,                                            :      Case No. 21-22288 (RDD)
                                                                  :
                                                 1
                                        Debtor.                   :
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             ORDER AUTHORIZING THE SALE OF THE DEBTOR’S PROPERTY
               LOCATED AT 540 CONCORD AVENUE, BRONX, NEW YORK
              FREE AND CLEAR OF LIENS AND INTERESTS PURSUANT TO
                 SECTIONS 363(b) AND (f) OF THE BANKRUPTCY CODE

                    Upon the motion dated January 10, 2022 (the “Motion”) of Howard P. Magaliff

(the “Trustee”), the chapter 7 trustee of Mel Service, Inc. (the “Debtor”), for entry of an order

pursuant to sections 363(b) and (f) of the Bankruptcy Code, title 11, United States Code (the

“Bankruptcy Code”), Rule 6004 of the Federal Rules of Bankruptcy Procedure and Local Bank-

ruptcy Rule 6004-1 authorizing him to sell the Debtor’s real property located at 540 Concord

Avenue, Bronx, New York (the “Property”) to 540 Cab LLC (the “Purchaser”) according to the

Terms of Sale attached to the Motion as Exhibit 1, free and clear of liens and interests, with liens

and interests to attach to the proceeds; and due and sufficient notice of the Motion having been

given; and being that a sale of the Property is in the best interests of the estate and its creditors,

and parties in interest; and a hearing (the “Sale Hearing”) having been held on February 7, 2022,

and the Court having considered the arguments of all counsel and interested parties wishing to be

heard who appeared at the Sale Hearing; and there being no objections to the Motion, and no ad-

verse interest appearing, and good and sufficient cause existing for the relief requested, the Court

hereby FINDS and CONCLUDES that:




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       The last four digits of the Debtor’s employer identification number are 3789.
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                A.      Notice of the Motion and the Sale Hearing was good, adequate and suffi-

cient, and all parties in interest were given the opportunity to object to the proposed sale and be

heard.

                B.      The Property was adequately marketed.

                C.      Closing with the Purchaser provides fair and reasonable consideration to

the estate.

                D.      The Trustee has demonstrated sound and prudent business judgment in de-

ciding to sell the Property to the Purchaser. The proposed sale of the Property is in the best inter-

ests of the Debtor’s estate and creditors.

                E.      Sale of the Property pursuant to section 363(f) of the Bankruptcy Code is

appropriate, because the Trustee has satisfied one or more of the requirements of section 363(f)

of the Bankruptcy Code.

                F.      No objections to the Motion were filed or interposed.

                G.      Waiver of the 14-day automatic stay under Bankruptcy Rule 6004(h) is

appropriate under the circumstances.

                Based upon the foregoing findings of fact and conclusions of law, it is hereby

ORDERED that:

                1.      The Motion is approved as set forth herein.

                2.      The Terms of Sale attached as Exhibit 1 to the Motion are approved, and

such Terms of Sale are hereby incorporated into and made a part of this Order.

                3.      Pursuant to 11 U.S.C. §§ 363(b) and (f), the Trustee be, and he hereby is

authorized to sell the Property to the Purchaser, free and clear of all liens, claims and interests of




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entities other than the estate of whatever kind or nature, with such liens, claims, interests and en-

cumbrances, if any, to attach to the proceeds of the sale in such order and priority as they existed

immediately prior to the date of the sale.

                 4.      The Purchaser is directed to close on the sale in accordance with the

Terms of Sale.

                 5.      All objections to the Motion and the sale of the Property, to the extent not

withdrawn or resolved, are denied in all respects.

                 6.      The sale of the Property is exempt from the automatic stay requirement of

Bankruptcy Rule 6004(h).

                 7.      The Trustee is authorized to execute all documents and take all actions

necessary to close on the sale of the Property pursuant to the Terms of Sale and this Order.

                 8.      The Trustee is authorized to pay all closing costs and fees out of the sale

proceeds at or after closing including the secured claim of 540 Concord Lender, LLC and the

commission of $204,000 to Rosewood Realty Group together with reimbursement of Rose-

wood’s expenses.

                 9.      This Order shall survive the conversion or dismissal of the Debtor’s case

                 10.     This Court shall retain jurisdiction with respect to any dispute under this

Order.


Dated: White Plains, New York
       February __, 2022

                                                Hon. Robert D. Drain
                                                United States Bankruptcy Judge




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